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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                              :
 JON ROSATO, on behalf of himself and                         :
 similarly situated individuals,                              :    19 Civ. 10559 (LGS)
                                                              :
                                            Plaintiff         :         ORDER
                                                              :
                            -against-                         :
                                                              :
 THE CITY OF NEW YORK,                                        :
                                                              :
                                            Defendant.        :
 -------------------------------------------------------------X
LORNA G. SCHOFIELD, District Judge:

         WHEREAS the Order, dated September 22, 2020 (Dkt. No. 39), terminated Plaintiff’s

counsel and directed Plaintiff to enter an appearance through new counsel or via the Southern

District of New York’s Pro Se Intake Unit by October 22, 2020.

         WHEREAS the Order, dated October 23, 2020 (Dkt. No. 42), again directed Plaintiff to

enter an appearance through new counsel or via the Southern District of New York’s Pro Se

Intake Unit, or to request an extension of time to retain new counsel, by November 6, 2020. That

Order stated that noncompliance would result in dismissal for failure to prosecute.

         WHEREAS, Plaintiff has not appeared pro se or through counsel, and has not requested

an extension of time to retain new counsel. Accordingly, it is hereby

         ORDERED that this case is dismissed without prejudice for failure to prosecute pursuant

to Federal Rule of Civil Procedure 41(b).

         The Clerk of Court is respectfully directed to mail a copy of this Order to Plaintiff and

close the case.

Dated: November 9, 2020
       New York, New York
